           Case 2:12-cr-00051-MCE-CKD Document 92 Filed 02/05/14 Page 1 of 2


 1 BENJAMIN B. WAGNER
   United States Attorney
 2 MICHELE BECKWITH
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5
 6 Attorneys for Plaintiff
   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           CASE NO. 2:12-CR-051 MCE
12                                Plaintiff,             STIPULATION AND ORDER REGARDING
                                                         CONTINUANCE OF JUDGMENT AND
13                          v.                           SENTENCING DATE
14   VALENTINA BEKNAZAROV, AND
     ANATOLIY BEKNAZAROV,
15
                                  Defendants.
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17
                                                 STIPULATION
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            Plaintiff United States of America, by and through its respective counsel, and defendants
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     Valentina and Anatoliy Beknazarov, by and through their respective counsel, hereby stipulate to
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     continue the previously scheduled sentencing date of January 30, 2014, to March 27, 2014, and jointly
21
     request that the Court order such continuance. The probation office does not object to this request.
22
23 Dated: January 20, 2014                                   BENJAMIN B. WAGNER
                                                             United States Attorney
24
25                                                           /s/ MICHELE BECKWITH
                                                             MICHELE BECKWITH
26                                                           Assistant United States Attorney
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           Case 2:12-cr-00051-MCE-CKD Document 92 Filed 02/05/14 Page 2 of 2


 1 Dated: January 20, 2014                       /s/ Christopher R. Cosca
                                                 CHRISTOPHER R. COSCA
 2                                               Counsel for Defendant
 3                                               Valentina Beknazarov

 4
     Dated: January 20, 2014                     /s/ Philip Cozens
 5                                               PHILIP COZENS
                                                 Counsel for Defendant
 6                                               Anatoliy Beknazarov
 7
 8
 9                                        ORDER
10         IT IS SO ORDERED.
11 Dated: January 29, 2014
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